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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------x
JAMES H. FISCHER
                                             Plaintiff               MOTION FOR WITHDRAWAL

                          -against-

STEPHEN T. FORREST, JR., SANDRA F.                                   Case No:
FORREST, SHANE R. GEBAUER, AND                                       CV 14-1304
BRUSHY MOUNTAIN BEE FARM, INC.                                       CV 14-1307

                                             Defendants.
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On March 22, 2018, the undersigned filed a letter motion asking to be relieved as attorney of

Record which was granted on April 11, 2018. Unfortunately, while my name was removed, the

name of my former associate Christopher Gioia was not and Mr. Fischer advises me that he

cannot receive ECF notifications until Mr. Gioia’s name is terminated as a notice attorney on

these dockets.

        I therefore ask that the court terminate Christopher Gioia as an attorney on this matter as

Mr. Fischer is proceeding pro se.



Dated: May 2, 2018




                                                           /s/ Oscar Michelen /s/
                                            _________________________________
                                                     OSCAR MICHELEN (OM 5199)
